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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

 MSN LABORATORIES PRIVATE LIMITED, )
                                   )
                 Plaintiff,        )
                                   )
      v.                           ) C.A. No. 1:23-cv-1675
                                   )
 BIOPROJET SOCIÉTÉ CIVILE DE       )
 RECHERCHE,                        )
                                   )
                 Defendant.        )
                                   )
                                   )


                                    NOTICE OF HEARING

        Please take notice that on Friday, January 12, 2024, at 10:00 a.m., or as soon thereafter as

 it may be heard, Defendant Bioprojet Société Civile de Recherche will present oral argument in

 support of its Motion to Transfer This Action to the District of Delaware or Stay Proceedings.
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  Dated: December 21, 2023                Respectfully Submitted,

                                          COVINGTON & BURLING LLP

                                          /s/ Erica N. Andersen
                                       ___________________________________
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 *Not admitted in Virginia. Pro hac
 to be filed.




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